             Case 2:21-cv-03351-CMR Document 1 Filed 07/28/21 Page 1 of 13




                         IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA
 ____________________________________
MELINDA ROGERS                           :
4200 Stirling St., 1st Floor             :    CIVIL ACTION
Philadelphia, PA 19135                   :
                                         :    NO.
               Plaintiff,                :
                                         :
               v.                        :    JURY TRIAL DEMANDED
                                         :
PHILADELPHIA GAS WORKS                   :
800 W. Montgomery Avenue                 :
Philadelphia, PA 19122                   :
                                         :
               Defendant.                :
                                         :

                                      CIVIL ACTION COMPLAINT

        Plaintiff, Melinda Rogers (hereinafter referred to as “Plaintiff” unless otherwise indicated),

by and through her undersigned counsel, hereby avers as follows:

                                               I. Introduction

        1.       Plaintiff has initiated this action to redress violations by Defendant of the Family

and Medical Leave Act (“FMLA” - 29 U.S.C. §§ 2601 et. seq.), the Americans with Disabilities

Act ("ADA" - 42 USC §§ 12101 et. seq.), the Pennsylvania Human Relations Act (“PHRA”), and

the Philadelphia Fair Practices Ordinance, Phila. Code 9-1100 et seq. (“PFPO”).1 As a direct

consequence of Defendant’s unlawful actions, Plaintiff seeks damages as set forth herein.




1
 Plaintiff’s claims under the PHRA and PFPO are referenced herein for notice purposes. She is required to wait 1 full
year from date of dual-filing with the EEOC before those claims become administratively exhausted. Once exhausted,
Plaintiff will seek to amend her complaint to add those additional claims, which will identically mirror her federal
claims under the ADA.
                                                         1
             Case 2:21-cv-03351-CMR Document 1 Filed 07/28/21 Page 2 of 13




                                    II.   Jurisdiction and Venue

        2.       This Court may properly maintain jurisdiction over Defendant because Defendant’s

contacts with this state and this judicial district are sufficient for the exercise of jurisdiction over

Defendant to comply with traditional notions of fair play and substantial justice, satisfying the

standard set forth by the United States Supreme Court in International Shoe Co v. State of

Washington, 326 U.S. 310 (1945) and its progeny.

        3.       This action is initiated pursuant to a federal law. The United States District Court

for the Eastern District of Pennsylvania has original subject matter jurisdiction over this action

pursuant to 28 U.S.C. § 1331 because the claims arise under the laws of the United States.

        4.       Venue is properly laid in this District pursuant to 28 U.S.C. §§ 1391(b)(1) and

(b)(2), because Defendant resides in and/or conduct business in this judicial district and because a

substantial part of the acts and/or omissions giving rise to the claims set forth herein occurred in

this judicial district.

                                             III. Parties

        5.       The averment of the foregoing paragraph is hereby incorporated by reference as if

set forth fully herein.

        6.       Plaintiff is an adult individual residing at the above-captioned address.

        7.       Philadelphia Gas Works ("PGW" or “Defendant”), is a municipally owned gas

company operating in Pennsylvania with a principal place of business at the above-captioned

address.




                                                   2
             Case 2:21-cv-03351-CMR Document 1 Filed 07/28/21 Page 3 of 13




        8.       At all times relevant herein, Defendant acted by and through its agents, servants,

and employees, each of whom acted at all times relevant herein in the course and scope of their

employment with and for Defendant.

                                      IV. Factual Background

        9.       The averments of the foregoing paragraphs are hereby incorporated by reference as

if set forth fully herein.

        10.      Plaintiff was hired by Defendant on or about February 9, 2015 as a Call Center

Specialist.

        11.      In total, Plaintiff was employed by Defendant for more than 5 years working out of

the above-captioned Philadelphia location, until she was impermissibly terminated on or about

December 7, 2020, as described infra.

        12.      During the relevant timeframe in this matter, Plaintiff was supervised by several

individuals, including but not limited to Zayda Santiago (Supervisor).

        13.      Throughout her employment with Defendants, Plaintiff was a dedicated and hard-

working employee who performed her job very well.

        14.      Plaintiff has an continues to suffer from disabilities, including but not limited to

depression, anxiety and chronic migraines.

        15.      As a result of Plaintiff’s aforesaid health conditions, Plaintiff is (at times) limited

in her ability to perform some daily life activities, including but not limited to performing manual

tasks, concentrating, thinking, and working (as well as other daily life activities)




                                                   3
         Case 2:21-cv-03351-CMR Document 1 Filed 07/28/21 Page 4 of 13




       16.     Despite her aforementioned health conditions and limitations, Plaintiff was still

able to perform the duties of her job well with Defendants; however, Plaintiff did require

reasonable medical accommodations at times.

       17.     Specifically, Plaintiff required accommodations from Defendant including

intermittent time off from work to care and treat for her disabilities, for which she utilized leave

under the Family and Medical Leave Act (“FMLA”).

       18.     While Plaintiff has a long-term history of dealing with and treating for her

aforementioned health conditions, her disabilities became worse in the years 2019 and 2020.

       19.     The (yet uncorrected) problem is that Defendant has exhibited one of the worst

administrations of FMLA leave for employees in the greater Philadelphia area. In particular:

               (A) Defendant has been sued numerous times for mishandling FMLA of
                   employees;

               (B) Defendant incorrectly handles FMLA paperwork on a pervasive basis;

               (C) Defendant inaccurately counts or calculates FMLA usage on a pervasive basis;

               (D) Defendant fails to follow written notice obligations to employees under the
                   FMLA on a pervasive basis; and

               (E) Defendant uses FMLA usage as a factor in taking adverse actions against
                   employees.

       20.     Defendants ongoing mishandling of FMLA for many years on such a continual

basis is illustrative of gross reckless indifference, intent, and a knowing failure to educate or

remedy its improper FMLA administration prejudicing employees. During the course of the case,

Plaintiff will demonstrate willfulness through continual FMLA violations over the span of many

years (in addition to significant other evidence specific to Plaintiff).



                                                   4
         Case 2:21-cv-03351-CMR Document 1 Filed 07/28/21 Page 5 of 13




       21.     By the September 2020 timeframe, it is believed that Plaintiff’s semi-annual or

annual certification for FMLA use had lapsed, however, Plaintiff was unclear as to whether her

FMLA entitlements were fully exhausted for the following year or whether her certification for

usage was deemed to expire, as Defendant failed to maintain proper communication or written

updates in this regard.

       22.     As of September 2020, Defendant’s management, including but not limited to

Santiago, had been informed by Plaintiff on numerous occasions: (a) about her health history and

various complications when occurring; (b) her FMLA needs over the prior year(s); and (c) that

unfortunately as of the fall of 2020 she had no primary care physician because Plaintiff’s had

retired, which created substantial difficulty in Plaintiff finding a new one, getting any actual

medical documentation, and trying to get a new FMLA certification for future needs (even

requiring her to use Urgent Care instead of a regular doctor’s office).

       23.     Because it is well known within Defendant that the entity as a whole may look for

any reason to terminate someone who uses FMLA, Plaintiff went out of her way to work between

September and November without missing time from work, leading her to: (a) work through pain

and discomfort; (b) search for a new physician; and (c) try to get new FMLA documentation during

this timeframe.

       24.     Unfortunately, Plaintiff became very sick between November 11, 2020 and through

late November 2020 (a period of several weeks). Believing she had COVID, Plaintiff shared this

with management, including but not limited to Santiago.

       25.     Plaintiff worked from home from on or about November 11, 2020 through on or

about November 20, 2020, however, after taking a COVID test on or about November 21, 2020,


                                                 5
             Case 2:21-cv-03351-CMR Document 1 Filed 07/28/21 Page 6 of 13




on or about November 23, 2020, Plaintiff called out of work because the physician whom she had

seen (at Urgent Care) had verbally and in a note to her identified that she should quarantine and

not work.2

           26.      Although Plaintiff continued to work following November 23, 2020, on or about

December 7, 2020, approximately two (2) weeks later, Plaintiff was terminated.

           27.      Plaintiff was first informed of her termination verbally and she was thereafter sent

a letter identifying the same. In both notifications, Plaintiff’s alleged exhaustion of FMLA was

referenced and Plaintiff was informed that she was being terminated for missing the single day of

work on or about November 23, 2020.

           28.      Plaintiff was further told that she had no remaining sick time and had allegedly

failed to provide a doctor’s note for November 23, 2020.

           29.      Such a reason for termination, however, is discriminatory and entirely pretextual

as:

                 a. Plaintiff understood her physician to have provided a doctor’s note for this date to

                    Defendant by facsimile, which she informed Defendant of and in fact offered to

                    provide such a note after she was informed that it allegedly had not been received;

                 b. All of the time Plaintiff had missed prior to November 23, 2020 was either for

                    FMLA usage, related to flareups of Plaintiff’s disabilities, or other medical needs

                    (accommodations under the ADA); therefore, Plaintiff was terminated for missing

                    a single day of work past her protected medical leaves, with her prior leave

                    obviously being counted negatively against her;



2
    Fortunately, Plaintiff tested negative for COVID and continued to work.
                                                           6
         Case 2:21-cv-03351-CMR Document 1 Filed 07/28/21 Page 7 of 13




             c. Other employees who did not utilize the FMLA or accommodations under the ADA

                would miss days, weeks, or months from work at varying times and under different

                circumstances without facing termination;

             d. Plaintiff had taken protected medical leave in exceedingly close proximity to being

                terminated, including in the days leading up to her ultimate separation; and

             e. Defendant had previously displayed its animosity towards Plaintiff’s use of medical

                leave, as Plaintiff had been denied raises for her history of absences in 2019 and

                2020, and was told by management, including Santiago, to “watch your back” in

                reference to her use of FMLA leave. Moreover, members of Defendant’s

                management had rolled their eyes, grunted at Plaintiff, and visibly showed their

                disdain for employees such as Plaintiff using FMLA or other leave for their health

                conditions.

       30.      Essentially, Defendant waited for the first opportunity it could find to terminate

Plaintiff for her use of prior medical leave under the FMLA and ADA, considering such prior leave

in terminating her for a single absence under highly pretextual circumstances, in a manner

disparately from other non-disabled employees.

       31.      Therefore, Plaintiff submits that Defendant terminated her because of her

disabilities, her use of FMLA leave and accommodations under the ADA, and to prevent her from

utilizing such leave in the future, in violation of the FMLA and ADA.




                                                 7
         Case 2:21-cv-03351-CMR Document 1 Filed 07/28/21 Page 8 of 13




                                            Count I
                  Violations of the Family and Medical Leave Act ("FMLA")
                                  (Interference & Retaliation)

        32.    The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

        33.    Plaintiff was an eligible employee under the definitional terms of the FMLA, 29

U.S.C. § 2611(a)(i)(ii).

        34.    Plaintiff met all FMLA eligibility requirements throughout her employment, and

Plaintiff exercised her rights to use intermittent FMLA leave.

        35.    Plaintiff was terminated unlawfully as outlined throughout this Complaint, and

these actions as stated herein constitute interference, discrimination, and retaliation violations of

the FMLA.

                                             Count II
              Violations of the Americans with Disabilities Act, as Amended ("ADA")
              (Actual/Perceived/Record of Disability Discrimination and Retaliation)

        36.    The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

        37.    Plaintiff suffers from qualifying health conditions under the ADA which affected

(at times) her ability to perform some daily life activities, as outlined supra.

        38.    Despite Plaintiff’s aforementioned health conditions and limitations, she was still

able to perform the duties of her job well with Defendant, but at times required reasonable

accommodations, such as intermittent medical leave.




                                                  8
         Case 2:21-cv-03351-CMR Document 1 Filed 07/28/21 Page 9 of 13




       39.     As outlined throughout this Complaint, Plaintiff was terminated because of: (1) her

known and/or perceived health problems; (2) her record of impairment; (3) her requested

accommodations; and/or (4) in retaliation for her need for reasonable accommodations.

       40.     These actions as aforesaid constitute violations of the ADA, as amended.

       WHEREFORE, Plaintiff prays that this Court enter an Order providing that:

       B.      Defendant is to compensate Plaintiff, reimburse Plaintiff and make Plaintiff whole

for any and all pay and benefits Plaintiff would have received had it not been for Defendant’s

illegal actions, including but not limited to past lost earnings, future lost earnings, salary, pay

increases, bonuses, medical and other benefits, training, promotions, pension, and seniority.

Plaintiff should be accorded those benefits illegally withheld from the date she first suffered

retaliation/interference at the hands of Defendant until the date of verdict;

       C.      Plaintiff is to be awarded liquidated damages, as permitted by applicable law, in an

amount determined by the Court or trier of fact to be appropriate to punish Defendant for its willful,

deliberate, malicious and outrageous conduct and to deter Defendant or other employers from

engaging in such misconduct in the future;

       D.      Plaintiff is to be awarded the costs and expenses of this action and reasonable legal

fees as provided by applicable federal and state law;

       E.      Any verdict in favor of Plaintiff is to be molded by the Court to maximize the

financial recovery available to the Plaintiff in light of the caps on certain damages set forth in

applicable federal law; and




                                                  9
        Case 2:21-cv-03351-CMR Document 1 Filed 07/28/21 Page 10 of 13




       F.      Plaintiff’s claims are to receive trial by jury to the extent allowed by applicable law.

Plaintiff has also endorsed this demand on the caption of this Complaint in accordance with Federal

Rule of Civil Procedure 38(b).

                                                       Respectfully submitted,

                                                       KARPF, KARPF, & CERUTTI, P.C.


                                               By:     __________________________
                                                       Ari R. Karpf
                                                       3331 Street Road
                                                       Two Greenwood Square
                                                       Suite 128
                                                       Bensalem, PA 19020
                                                       (215) 639-0801
Date: July 28, 2021




                                                 10
 Case 2:21-cv-03351-CMR Document 1 Filed 07/28/21 Page 11 of 13




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TLOULOMON
                            Case 2:21-cv-03351-CMR
                                                UNITEDDocument  1 Filed
                                                      STATES DISTRICT    07/28/21 Page 12 of 13
                                                                      COURT
                                                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                           DESIGNATION FORM
                     (to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)
                        QOMM=píáêäáåÖ=píêÉÉíI=Nëí=cäççêI=mÜáä~ÇÉäéÜá~I=m^=NVNPR
Address of Plaintiff: ______________________________________________________________________________________________
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Address of Defendant: ____________________________________________________________________________________________
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Place of Accident, Incident or Transaction: ___________________________________________________________________________



RELATED CASE, IF ANY:

Case Number: ______________________________                      Judge: _________________________________                    Date Terminated: ______________________

Civil cases are deemed related when Yes is answered to any of the following questions:

1.     Is this case related to property included in an earlier numbered suit pending or within one year                         Yes                    No X
       previously terminated action in this court?

2.     Does this case involve the same issue of fact or grow out of the same transaction as a prior suit                        Yes                    No X
       pending or within one year previously terminated action in this court?

3.     Does this case involve the validity or infringement of a patent already in suit or any earlier                           Yes                    No X
       numbered case pending or within one year previously terminated action of this court?

4.     Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights                        Yes                    No X
       case filed by the same individual?

I certify that, to my knowledge, the within case              is / X is not related to any case now pending or within one year previously terminated action in
this court except as noted above.
          TLOULOMON
DATE: __________________________________                      __________________________________________                               ARK2484 / 91538
                                                                                                                               ___________________________________
                                                                          Attorney-at-Law / Pro Se Plaintiff                               Attorney I.D. # (if applicable)


CIVIL:

A.            Federal Question Cases:                                                       B.    Diversity Jurisdiction Cases:

       1.     Indemnity Contract, Marine Contract, and All Other Contracts                        1.    Insurance Contract and Other Contracts
       2.     FELA                                                                                2.    Airplane Personal Injury
       3.     Jones Act-Personal Injury                                                           3.    Assault, Defamation
       4.     Antitrust                                                                           4.    Marine Personal Injury
       5.     Patent                                                                              5.    Motor Vehicle Personal Injury
       6.     Labor-Management Relations                                                          6.    Other Personal Injury (Please specify): _____________________
u      7.     Civil Rights                                                                        7.    Products Liability
       8.     Habeas Corpus                                                                       8.    Products Liability –Asbestos
       9.     Securities Act(s) Cases                                                             9.    All other Diversity Cases
       10.    Social Security Review Cases                                                              (Please specify): ____________________________________________
       11.    All other Federal Question Cases
              (Please specify): ____________________________________________



                                                                           ARBITRATION CERTIFICATION
                                                   (

     Ari R. Karpf
I, ____________________________________________ , counsel of record or pro se plaintiff, do hereby certify:

              Pursuant to Local Civil Rule 53.2, § 3(c ) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
     X
              exceed the sum of $150,000.00 exclusive of interest and costs:

              Relief other than monetary damages is sought.


               TLOULOMON
DATE: __________________________________                      _____________________________________ _____                            ARK2484 / 91538
                                                                                                                              ___________________________________
                                                                          Attorney-at-Law / Pro Se Plaintiff                              Attorney I.D. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

Civ. 609 ( /2018)
                                   Case 2:21-cv-03351-CMR Document 1 Filed 07/28/21 Page 13 of 13
JS 44 (Rev. 06/17)                                                        CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                            DEFENDANTS

    oldbopI=jbifka^                                                                                         mefi^abimef^=d^p=tlohp
    (b) County of Residence of First Listed Plaintiff               mÜáä~ÇÉäéÜá~                             County of Residence of First Listed Defendant
                                                                                                                                                                          mÜáä~ÇÉäéÜá~
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                     (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                             NOTE:         IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                           THE TRACT OF LAND INVOLVED.

  (c) Attorneys (Firm Name, Address, and Telephone Number)                                                   Attorneys (If Known)
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II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                      III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintif                                     f
                                                                                                        (For Diversity Cases Only)                                             and One Box for Defendant)
❒ 1    U.S. Government               u’ 3    Federal Question                                                                     PTF           DEF                                            PTF      DEF
          Plaintiff                             (U.S. Government Not a Party)                      Citizen of This State          ’ 1           ’ 1     Incorporated or Principal Place         ’ 4     ’ 4
                                                                                                                                                            of Business In This State

❒ 2    U.S. Government                 ’ 4 Diversity                                               Citizen of Another State          ’ 2         ’ 2    Incorporated and Principal Place      ’ 5      ’ 5
          Defendant                           (Indicate Citizenship of Parties in Item III)                                                                 of Business In Another State

                                                                                                   Citizen or Subject of a           ’ 3         ’ 3    Foreign Nation                        ’ 6      ’ 6
                                                                                                     Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                                 Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                             TORTS                                FORFEITURE/PENALTY                            BANKRUPTCY                      OTHER STATUTES
❒   110 Insurance                      PERSONAL INJURY                 PERSONAL INJURY            ❒ 625 Drug Related Seizure               ’   422 Appeal 28 USC 158          ❒ 375 False Claims Act
❒   120 Marine                       ’ 310 Airplane                  ❒ 365 Personal Injury -            of Property 21 USC 881             ’   423 Withdrawal                 ’ 376 Qui Tam (31 USC
❒   130 Miller Act                   ’ 315 Airplane Product                Product Liability      ❒ 690 Other                                      28 USC 157                        3729(a))
❒   140 Negotiable Instrument               Liability                ❒ 367 Health Care/                                                                                      ❒ 400 State Reapportionment
❒   150 Recovery of Overpayment      ’ 320 Assault, Libel &                Pharmaceutical                                                      PROPERTY RIGHTS               ❒ 410 Antitrust
        & Enforcement of Judgment           Slander                        Personal Injury                                                 ❒ 820 Copyrights                  ❒ 430 Banks and Banking
❒   151 Medicare Act                 ’ 330 Federal Employers’              Product Liability                                               ❒ 830 Patent                      ❒ 450 Commerce
❒   152 Recovery of Defaulted               Liability                ❒ 368 Asbestos Personal                                               ❒ 835 Patent - Abbreviated        ❒ 460 Deportation
        Student Loans                ’ 340 Marine                          Injury Product                                                         New Drug Application       ❒ 470 Racketeer Influenced and
        (Excludes Veterans)          ’ 345 Marine Product                  Liability                                                       ❒ 840 Trademark                          Corrupt Organizations
❒   153 Recovery of Overpayment             Liability                 PERSONAL PROPERTY                        LABOR                          SOCIAL SECURITY                ❒ 480 Consumer Credit
        of Veteran’s Benefits        ’ 350 Motor Vehicle             ❒ 370 Other Fraud            ❒ 710 Fair Labor Standards               ’ 861 HIA (1395ff)                ❒ 490 Cable/Sat TV
❒   160 Stockholders’ Suits          ’ 355 Motor Vehicle             ❒ 371 Truth in Lending               Act                              ❒ 862 Black Lung (923)            ❒ 850 Securities/Commodities/
❒   190 Other Contract                     Product Liability         ❒ 380 Other Personal         ❒ 720 Labor/Management                   ’ 863 DIWC/DIWW (405(g))                  Exchange
❒   195 Contract Product Liability   ’ 360 Other Personal                  Property Damage                Relations                        ❒ 864 SSID Title XVI              ❒ 890 Other Statutory Actions
❒   196 Franchise                          Injury                    ❒ 385 Property Damage        ❒ 740 Railway Labor Act                  ’ 865 RSI (405(g))                ❒ 891 Agricultural Acts
                                     ’ 362 Personal Injury -               Product Liability       ’ 751 Family and Medical                                                  ❒ 893 Environmental Matters
                                           Medical Malpractice                                            Leave Act                                                          ❒ 895 Freedom of Information
        REAL PROPERTY                    CIVIL RIGHTS                 PRISONER PETITIONS          ❒ 790 Other Labor Litigation               FEDERAL TAX SUITS                       Act
❒   210 Land Condemnation            ❒ 440 Other Civil Rights          Habeas Corpus:             ❒ 791 Employee Retirement                ❒ 870 Taxes (U.S. Plaintiff       ❒ 896 Arbitration
❒   220 Foreclosure                  ❒ 441 Voting                    ❒ 463 Alien Detainee                Income Security Act                      or Defendant)              ❒ 899 Administrative Procedure
❒   230 Rent Lease & Ejectment       ❒ 442 Employment                ❒ 510 Motions to Vacate                                               ❒ 871 IRS—Third Party                    Act/Review or Appeal of
❒   240 Torts to Land                ❒ 443 Housing/                        Sentence                                                               26 USC 7609                       Agency Decision
❒   245 Tort Product Liability             Accommodations            ❒ 530 General                                                                                           ❒ 950 Constitutionality of
❒   290 All Other Real Property      ❒ 445 Amer. w/Disabilities -
                                     u                               ❒ 535 Death Penalty                IMMIGRATION                                                                 State Statutes
                                           Employment                  Other:                     ❒ 462 Naturalization Application
                                     ❒ 446 Amer. w/Disabilities -    ❒ 540 Mandamus & Other       ❒ 465 Other Immigration
                                           Other                     ❒ 550 Civil Rights                 Actions
                                     ❒ 448 Education                 ❒ 555 Prison Condition
                                                                     ❒ 560 Civil Detainee -
                                                                           Conditions of
                                                                           Confinement

V. ORIGIN (Place an “X” in One Box Only)
u
’ 1 Original    ❒ 2 Removed from                           ❒   3    Remanded from             ❒ 4 Reinstated or        ’     5 Transferred from     ❒ 6 Multidistrict                  ❒ 8 Multidistrict
        Proceeding                State Court                       Appellate Court               Reopened                     Another District            Litigation -                    Litigation -
                                                                                                                            (specify)                      Transfer                        Direct File
                                            Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                      ^a^=EQOrp`NONMNFX=cji^=EOVrp`OSMNF
VI. CAUSE OF ACTION Brief description of cause:
                       sáçä~íáçåë=çÑ=íÜÉ=^a^I=cji^I=meo^=~åÇ=íÜÉ=mcmlK
VII. REQUESTED IN     ❒ CHECK IF THIS IS A CLASS ACTION    DEMAND $                                                                                    CHECK YES only if demanded in complaint:
     COMPLAINT:           UNDER RULE 23, F.R.Cv.P.                                                                                                     JURY DEMAND:        u’ Yes      ’ No
VIII. RELATED CASE(S)
                        (See instructions):
      IF ANY                                JUDGE                                                                                              DOCKET NUMBER
DATE                                                                    SIGNATURE OF ATTORNEY OF RECORD
          TLOULOMON
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                    APPLYING IFP                                     JUDGE                               MAG. JUDGE

                  Print                                Save As...                                                                                                                   Reset
